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     A                    B                    C      D            E               F                 G        H                   I                     J   K             L                M                N
 1
 2                                            DAVID EDWARD WORLEY                                                                                     DAVID EDWARD WORLEY
 3                                            Based on Military Career                                                                         Based on Educational Attainment Statistics
 4                                                                                                                                                          High School
 5                                               TABLE M-1 of M-5                                                                                         TABLE H-1 of H-4
 6                                      SUMMARY KEY FACTS AND ASSUMPTIONS                                                                    SUMMARY KEY FACTS AND ASSUMPTIONS
 7       Date of Birth                                                            6/26/58                         Date of Birth                                                           6/26/58
 8       Date of Death                                                           10/23/83                         Date of Death                                                          10/23/83
 9       Age at Death                                                               25                            Age at Death                                                               25
10       Life Expectancy                                                            53                            Life Expectancy                                                            53
11       Expected Lifetime                                                          78              2036          Expected Lifetime                                                          78          2036
12       Race                                                                      White                          Race                                                                     White
13       Gender                                                                    Male                           Gender                                                                   Male
14       Marital Status                                                          Married                          Marital Status                                                         Married
15       Enlisted                                                                  1976                           Enlisted                                                                 1976
16       Enlisted Until                                                            1983                           Enlisted Until                                                           1983
17       Expected Civilian Retirement                                               67              2025          Expected Civilian Retirement                                               67          2025
18       Worklife Expectancy                                                        58              2016          Worklife Expectancy                                                        58          2016
19       Expected Military Retirement                                              1996                           Expected Military Retirement                                             1996
20       Pre-Mil. Work                                                              N/A                           Pre-Mil. Work                                                             N/A
21       High School                                                                Yes                           High School                                                               Yes
22       College                                                                    No                            College                                                                   No
23       Aspirations                                                     Military Career/Doctor                   Aspirations                                                    Military Career/Doctor
24       MOS #                                                                                                    MOS #
25       Rank Title                                                                                               Rank Title
26       Grade                                                                   E-4                              Grade                                                                     E-4
27       Basic Pay - 1983                                                      $888.60                            Basic Pay - 1983                                                      $888.60
28       BAH - 1983                                                            $244.80                            BAH - 1983                                                            $244.80
29       BAS - 1983                                                             $5.29      /day                   BAS - 1983                                                              $5.29     /day
30
31                                           ECONOMIC LOSSES SUMMARY                                                                               ECONOMIC LOSSES SUMMARY
32       Worklife Expectancy-58                                 Before         After                              Worklife Expectancy-58                            Before         After
33                                                            Discount to   Discount to                                                                           Discount to   Discount to
34                                                          Present Value Present Value                                                                          Present Value Present Value
35       Earnings                                                $2,516,018 $2,504,728            Table M-2       Earnings                                             $868,077    $863,983             Table H-2
36       Fringe Benefits(13.86% of Earnings)                      $348,720    $347,155                            Fringe Benefits(13.86% of Earnings)                  $120,316     $119,748
37       Military Retirement Income                               $402,492    $321,324            Table M-3       Retirement Income                                    $355,056    $213,548             Table H-3
38       Civilian Retirement Income                               $755,436    $454,769            Table M-4       Social Security Income                               $240,162    $144,445             Table H-4
39       Social Security Income                                    $298,104    $179,457           Table M-5       Household Services                                   $627,201    $504,579             Table H-5
40       Household Services                                        $627,201    $504,579           Table M-6       `
41       Totals                                                  $4,947,973 $4,312,013                            Totals                                             $1,583,611   $1,341,724
42       Social Security Retirement Age                                                                           Social Security Retirement Age
43                                                              Before         After
44                                                            Discount to   Discount to                                                                                Before         After
45                                                          Present Value Present Value                                                                              Discount to   Discount to
46       Earnings                                                $3,801,480 $3,547,859            Table M-2                                                         Present Value Present Value
47       Fringe Benefits(13.86% of Earnings)                      $526,885    $491,733                            Earnings                                              $1,262,187   $1,183,958         Table H-2
48       Military Retirement Income                               $402,492    $321,324            Table M-3       Fringe Benefits(13.86% of Earnings)                     $174,939    $164,097
49       Civilian Retirement Income                               $755,436    $454,769            Table M-4       Retirement Income                                       $355,056    $213,548          Table H-3
50       Social Security Income                                    $298,104    $179,457           Table M-5       Social Security Income                                  $240,162    $144,445          Table H-4
51       Household Services                                        $627,201    $504,579           Table M-6       Household Services                                      $627,201    $504,579          Table H-5
52       Totals                                                  $6,411,599 $5,499,723                            Totals                                                $2,659,546   $2,210,627
53




     David Edward Worley Sept-2014-v1.xls                                    Prepared by Jerome S. Paige, Ph.D. and Moses Sawney, MBA                                           Jerome S. Paige and Associates, LLC


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  1
  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                      TABLE M-2 of M-5
  8                                      EARNINGS LOSSES
  9
 10
 11                                                 Earnings in     After      After           After                                                   Social  Social         After        Total         Present
 12                                       Earnings Current Year   Federal State and Local Social Security Probability of being Probability of being   Security Security     Personal      Earnings      Value of    Cumulative
 13                 Year              Age ($1983)      Dollars     Taxes      Taxes           Taxes           Employed                 Alive           Rate     Cap        Consumption     Loss       Earnings Loss   Loss
 14
 15                 1983              25   $2,584      $2,584     99.7%        95.0%            93.3%            100.0%                 100.0%         6.70% $35,700         65.9%          $1,505         $1,505         $1,505
 16                 1984              26   $21,660     $21,660    94.4%        95.0%            93.3%            100.0%                 100.0%         6.70% $35,700         65.9%         $11,942        $11,942        $13,447
 17                 1985              27   $22,643     $22,643    93.8%        95.0%            93.0%            100.0%                 100.0%         7.00% $37,800         65.9%         $12,365        $12,365        $25,813
 18                 1986              28   $23,161     $23,161    93.8%        95.0%            93.0%            100.0%                 100.0%         7.05% $39,600         65.9%         $12,642        $12,642        $38,455
 19                 1987              29   $24,654     $24,654    93.8%        95.0%            92.9%            100.0%                 100.0%         7.15% $42,000         65.9%         $13,442        $13,442        $51,897
 20                 1988              30   $26,645     $26,645    93.4%        95.0%            92.9%            100.0%                 100.0%         7.15% $43,800         69.7%         $15,304        $15,304        $67,200
 21                 1989              31   $30,045     $30,045    94.4%        95.0%            92.5%            100.0%                 100.0%         7.51% $45,000         72.5%         $18,066        $18,066        $85,266
 22                 1990              32   $31,724     $31,724    92.8%        95.0%            92.5%            100.0%                 100.0%         7.51% $48,000         72.5%         $18,754        $18,754       $104,021
 23                 1991              33   $33,025     $33,025    92.8%        95.0%            92.4%            100.0%                 100.0%         7.65% $51,300         72.5%         $19,494        $19,494       $123,515
 24                 1992              34   $35,089     $35,089    92.8%        95.0%            92.4%            100.0%                 100.0%         7.65% $53,400         74.6%         $21,312        $21,312       $144,827
 25                 1993              35   $36,390     $36,390    92.8%        95.0%            92.4%            100.0%                 100.0%         7.65% $55,500         74.6%         $22,103        $22,103       $166,930
 26                 1994              36   $37,835     $37,835    92.8%        95.0%            92.4%            100.0%                 100.0%         7.65% $57,600         74.6%         $22,980        $22,980       $189,910
 27                 1995              37   $38,819     $38,819    92.8%        95.0%            92.4%            100.0%                 100.0%         7.65% $60,600         74.6%         $23,577        $23,577       $213,487
 28                 1996              38   $40,674     $40,674    92.0%        95.0%            92.4%            100.0%                 100.0%         7.65% $61,200         76.4%         $25,082        $25,082       $238,569
 29                 1997              39 $133,098     $133,098    86.0%        95.0%            96.6%            100.0%                 100.0%         7.65% $62,700         87.8%         $92,259        $92,259       $330,828
 30                 1998              40 $156,233     $156,233    86.0%        95.0%            97.0%            100.0%                 100.0%         7.65% $65,400         88.2%        $109,185       $109,185       $440,013
 31                 1999              41 $141,073     $141,073    86.0%        95.0%            96.5%            100.0%                 100.0%         7.65% $68,400         87.8%         $97,682        $97,682       $537,695
 32                 2000              42 $123,886     $123,886    86.0%        95.0%            95.8%            100.0%                 100.0%         7.65% $72,600         87.3%         $84,688        $84,688       $622,383
 33                 2001              43 $139,647     $139,647    86.0%        95.0%            96.1%            100.0%                 100.0%         7.65% $76,200         87.8%         $96,273        $96,273       $718,657
 34                 2002              44 $162,902     $162,902    86.0%        95.0%            96.4%            100.0%                 100.0%         7.65% $80,400         88.2%        $113,221       $113,221       $831,877
 35                 2003              45 $153,903     $153,903    86.0%        95.0%            96.0%            100.0%                 100.0%         7.65% $84,900         88.2%        $106,521       $106,521       $938,398
 36                 2004              46 $152,450     $152,450    86.0%        95.0%            95.9%            100.0%                 100.0%         7.65% $87,000         88.2%        $105,374       $105,374      $1,043,772
 37                 2005              47 $146,939     $146,939    86.0%        95.0%            95.7%            100.0%                 100.0%         7.65% $87,900         88.2%        $101,376       $101,376      $1,145,148
 38                 2006              48 $154,963     $154,963    86.0%        95.0%            95.8%            100.0%                 100.0%         7.65% $90,000         88.2%        $107,045       $107,045      $1,252,193
 39                 2007              49 $162,267     $162,267    86.0%        95.0%            95.8%            100.0%                 100.0%         7.65% $94,200         88.2%        $112,087       $112,087      $1,364,280
 40                 2008              50 $219,841     $219,841    79.0%        95.0%            96.8%            100.0%                 100.0%         7.65% $97,500         88.2%        $140,886       $140,886      $1,505,166
 41                 2009              51 $183,296     $183,296    86.0%        95.0%            96.0%            100.0%                 100.0%         7.65% $102,000        88.2%        $126,812       $126,812      $1,631,978
 42                 2010              52 $195,145     $195,145    79.0%        95.0%            96.2%            100.0%                 100.0%         7.65% $102,000        88.2%        $124,350       $124,350      $1,756,328
 43                 2011              53 $193,864     $193,864    79.0%        95.0%            96.2%            100.0%                 100.0%         7.65% $102,000        88.2%        $123,514       $123,514      $1,879,842
 44                 2012              54 $187,200     $187,200    86.0%        95.0%            96.1%            100.0%                 100.0%         7.65% $102,000        88.2%        $129,643       $129,643      $2,009,485
 45                 2013              55 $190,570     $190,570    79.0%        95.0%            96.2%            100.0%                 100.0%         7.65% $102,000        88.2%        $121,348       $121,348      $2,130,833
 46                 2014              56 $195,566     $195,566    79.0%        95.0%            96.3%            100.0%                 100.0%         7.65% $102,000        88.2%        $124,655     $124,655.47     $2,255,488
 47                 2015              57 $201,122     $201,122    79.0%        95.0%            96.4%            100.0%                 100.0%         7.65% $102,000        88.2%        $128,334     $124,608.06     $2,380,096
 48                 2016              58 $206,957     $206,957    79.0%        95.0%            96.5%            100.0%                 100.0%         7.65% $102,000        88.2%        $132,196     $124,631.84     $2,504,728
 49                                                                                                                                         Total to Worklife Expectancy                 $2,516,018     $2,504,728
 50                 2017              59 $213,874     $213,874    79.0%        95.0%            96.6%             93.2%                  99.5%         7.65% $102,000        88.2%        $126,771     $116,046.83     $2,620,775
 51                 2018              60 $220,935     $220,935    79.0%        95.0%            96.7%             93.2%                  99.4%         7.65% $102,000        88.2%        $131,051     $116,482.66     $2,737,258
 52                 2019              61 $227,121     $227,121    79.0%        95.0%            96.8%             93.2%                  99.4%         7.65% $102,000        88.2%        $134,789     $116,326.85     $2,853,585
 53                 2020              62 $233,481     $233,481    79.0%        95.0%            96.9%             93.2%                  99.3%         7.65% $102,000        88.2%        $138,626     $116,164.48     $2,969,749
 54                 2021              63 $240,018     $240,018    79.0%        95.0%            96.9%             93.2%                  99.3%         7.65% $102,000        88.2%        $142,563     $115,995.22     $3,085,744
 55                 2022              64 $246,739     $246,739    79.0%        95.0%            97.0%             93.2%                  99.2%         7.65% $102,000        88.2%        $146,602     $115,818.90     $3,201,563
 56                 2023              65 $253,647     $253,647    79.0%        95.0%            97.1%             93.2%                  99.2%         7.65% $102,000        88.2%        $150,744     $115,633.83     $3,317,197
 57                 2024              66 $260,749     $260,749    79.0%        95.0%            97.2%             93.2%                  99.1%         7.65% $102,000        88.2%        $154,987     $115,437.14     $3,432,634




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  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                      TABLE M-2 of M-5
  8                                      EARNINGS LOSSES
  9
 10
 11                                                 Earnings in   After       After          After                                                 Social   Social       After      Total      Present
 12                                       Earnings Current Year Federal State and Local Social Security Probability of being Probability of being Security Security    Personal   Earnings     Value of   Cumulative
 13                 Year              Age ($1983)      Dollars   Taxes      Taxes           Taxes           Employed                 Alive          Rate     Cap     Consumption    Loss    Earnings Loss   Loss
 14
 58                 2025              67 $268,050     $268,050  79.0%        95.0%          97.3%            93.2%                 99.0%           7.65% $102,000       88.2%     $159,328   $115,225.28 $3,547,859
 59                 2026              68                                                                                         Total to Social Security Retirement Age
 60                 2027              69
 61                 2028              70
 62                 2029              71
 63                 2030              72
 64                 2031              73
 65                 2032              74
 66                 2033              75
 67                 2034              76
 68                 2035              77
 69                 2036              78
 70
 71                Totals                $5,970,484 $5,970,484                                                                                                                   $3,801,480  $3,547,859




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  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                       TABLE M-3 of M-5
  8                                       MILITARY RETIREMENT INCOME LOSSES
  9
 10                                                                                                                        Current Value of       Present Value of
 11                                       Retirement Retirement After        After         After                          Retirement Income      Retirement Income
 12                                         Income     Income   Federal State and Local  Personal   Probability of being     Losses After           Losses After
 13                 Year              Age    (Base)   (Current)  Taxes       Taxes      Consumption        Alive         Personal Consumption   Personal Consumption
 14
 15                 1983              25
 16                 1984              26
 17                 1985              27
 18                 1986              28
 19                 1987              29
 20                 1988              30
 21                 1989              31
 22                 1990              32
 23                 1991              33
 24                 1992              34
 25                 1993              35
 26                 1994              36
 27                 1995              37
 28                 1996              38
 29                 1997              39    $8,604      $8,604  86.0%        95.0%        87.8%           99.9%                 $6,165                $6,165
 30                 1998              40    $8,604      $8,716  86.0%        95.0%        88.2%           99.9%                 $6,273                $6,273
 31                 1999              41    $8,604      $8,908  86.0%        95.0%        87.8%           99.9%                 $6,382                $6,382
 32                 2000              42    $8,604      $9,219  86.0%        95.0%        87.3%           99.9%                 $6,567                $6,567
 33                 2001              43    $8,604      $9,468  86.0%        95.0%        87.8%           99.8%                 $6,783                $6,783
 34                 2002              44    $8,604      $9,601  86.0%        95.0%        88.2%           99.8%                 $6,908                $6,908
 35                 2003              45    $8,604      $9,812  86.0%        95.0%        88.2%           99.8%                 $7,060                $7,060
 36                 2004              46    $8,604     $10,067  86.0%        95.0%        88.2%           99.8%                 $7,242                $7,242
 37                 2005              47    $8,604     $10,422  86.0%        95.0%        88.2%           99.8%                 $7,496                $7,496
 38                 2006              48    $8,604     $10,755  86.0%        95.0%        88.2%           99.8%                 $7,734                $7,734
 39                 2007              49    $8,604     $11,067  86.0%        95.0%        88.2%           99.8%                 $7,957                $7,957
 40                 2008              50    $8,604     $11,521  79.0%        95.0%        88.2%           99.7%                 $7,609                $7,609
 41                 2009              51    $8,604     $11,440  86.0%        95.0%        88.2%           99.7%                 $8,222                $8,222
 42                 2010              52    $8,604     $11,680  79.0%        95.0%        88.2%           99.7%                 $7,711                $7,711
 43                 2011              53    $8,604     $12,096  79.0%        95.0%        88.2%           99.7%                 $7,983                $7,983
 44                 2012              54    $8,604     $12,346  86.0%        95.0%        88.2%           99.6%                 $8,866                $8,866
 45                 2013              55    $8,604     $12,569  79.0%        95.0%        88.2%           99.6%                 $8,290                $8,290
 46                 2014              56    $8,604     $12,846  79.0%        95.0%        88.2%           99.6%                 $8,471                $8,471
 47                 2015              57    $8,604     $13,157  79.0%        95.0%        88.2%           99.5%                 $8,673                $8,421
 48                 2016              58    $8,604     $13,492  79.0%        95.0%        88.2%           99.5%                 $8,891                $8,382




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                      A                B       Q          R        S           T            U                 V                    W                     X
  2 DAVID EDWARD WORLEY
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  7                                       TABLE M-3 of M-5
  8                                       MILITARY RETIREMENT INCOME LOSSES
  9
 10                                                                                                                        Current Value of       Present Value of
 11                                       Retirement Retirement After        After         After                          Retirement Income      Retirement Income
 12                                         Income     Income   Federal State and Local  Personal   Probability of being     Losses After           Losses After
 13                 Year              Age    (Base)   (Current)  Taxes       Taxes      Consumption        Alive         Personal Consumption   Personal Consumption
 14
 49
 50                 2017              59    $8,604   $13,855.78 79.0%        95.0%        88.2%           99.5%                  $9,127               $8,355
 51                 2018              60    $8,604   $14,243.74 79.0%        95.0%        88.2%           99.4%                  $9,379               $8,337
 52                 2019              61    $8,604   $14,642.56 79.0%        95.0%        88.2%           99.4%                  $9,638               $8,318
 53                 2020              62    $8,604   $15,052.56 79.0%        95.0%        88.2%           99.3%                  $9,903               $8,298
 54                 2021              63    $8,604   $15,474.03 79.0%        95.0%        88.2%           99.3%                 $10,175               $8,279
 55                 2022              64    $8,604   $15,907.30 79.0%        95.0%        88.2%           99.2%                 $10,455               $8,259
 56                 2023              65    $8,604   $16,352.70 79.0%        95.0%        88.2%           99.2%                 $10,741               $8,239
 57                 2024              66    $8,604   $16,810.58 79.0%        95.0%        88.2%           99.1%                 $11,034               $8,219
 58                 2025              67    $8,604   $17,281.28 79.0%        95.0%        88.2%           99.0%                 $11,335               $8,197
 59                 2026              68    $8,604   $17,765.15 89.7%        95.0%        86.8%           99.0%                 $13,000               $9,129
 60                 2027              69    $8,604   $18,262.58 86.0%        95.0%        87.3%           98.9%                 $12,878               $8,780
 61                 2028              70    $8,604   $18,773.93 86.0%        95.0%        87.3%           98.7%                 $13,223               $8,754
 62                 2029              71    $8,604   $19,299.60 86.0%        95.0%        87.8%           98.6%                 $13,653               $8,776
 63                 2030              72    $8,604   $19,839.99 86.0%        95.0%        87.8%           98.5%                 $14,018               $8,749
 64                 2031              73    $8,604   $20,395.51 86.0%        95.0%        88.2%           98.4%                 $14,458               $8,762
 65                 2032              74    $8,604   $20,966.58 86.0%        95.0%        88.2%           98.2%                 $14,842               $8,733
 66                 2033              75    $8,604   $21,553.65 86.0%        95.0%        88.2%           98.1%                 $15,233               $8,703
 67                 2034              76    $8,604   $22,157.15 86.0%        95.0%        88.2%           97.9%                 $15,631               $8,671
 68                 2035              77    $8,604   $22,777.55 86.0%        95.0%        88.2%           97.7%                 $16,036               $8,638
 69                 2036              78    $8,604   $23,415.32 86.0%        95.0%        88.2%           97.5%                 $16,448               $8,602
 70
 71                Totals                  $344,159 $582,613                                                                   $402,492              $321,324




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                      A                B         Z            AA       AB          AC            AD              AE                    AF                     AG
  1
  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                       TABLE M-4 of M-5
  8                                       CIVILIAN RETIREMENT INCOME LOSSES
  9
 10                                                                                                                             Current Value of       Present Value of
 11                                         Retirement   Retirement After         After         After                          Retirement Income      Retirement Income
 12                                           Income        Income   Federal State and Local  Personal   Probability of being     Losses After           Losses After
 13                 Year              Age      (Base)      (Current)  Taxes       Taxes      Consumption       Alive          Personal Consumption   Personal Consumption
 14
 15                 1983              25
 16                 1984              26
 17                 1985              27
 18                 1986              28
 19                 1987              29
 20                 1988              30
 21                 1989              31
 22                 1990              32
 23                 1991              33
 24                 1992              34
 25                 1993              35
 26                 1994              36
 27                 1995              37
 28                 1996              38
 29                 1997              39
 30                 1998              40
 31                 1999              41
 32                 2000              42
 33                 2001              43
 34                 2002              44
 35                 2003              45
 36                 2004              46
 37                 2005              47
 38                 2006              48
 39                 2007              49
 40                 2008              50
 41                 2009              51
 42                 2010              52
 43                 2011              53
 44                 2012              54
 45                 2013              55
 46                 2014              56
 47                 2015              57
 48                 2016              58




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                      A                B         Z            AA       AB          AC            AD              AE                    AF                     AG
  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                       TABLE M-4 of M-5
  8                                       CIVILIAN RETIREMENT INCOME LOSSES
  9
 10                                                                                                                             Current Value of       Present Value of
 11                                         Retirement   Retirement After         After         After                          Retirement Income      Retirement Income
 12                                           Income        Income   Federal State and Local  Personal   Probability of being     Losses After           Losses After
 13                 Year              Age      (Base)      (Current)  Taxes       Taxes      Consumption        Alive         Personal Consumption   Personal Consumption
 14
 49
 50                 2017              59
 51                 2018              60
 52                 2019              61
 53                 2020              62
 54                 2021              63
 55                 2022              64
 56                 2023              65
 57                 2024              66
 58                 2025              67
 59                 2026              68      $79,217       $79,217  89.7%        95.0%        86.8%           99.0%                 $57,968              $40,705.21
 60                 2027              69      $79,217       $82,307  86.0%        95.0%        87.3%           98.9%                 $58,040              $39,572.21
 61                 2028              70      $79,217       $85,599  86.0%        95.0%        87.3%           98.7%                 $60,289              $39,912.08
 62                 2029              71      $79,217       $89,023  86.0%        95.0%        87.8%           98.6%                 $62,979              $40,482.78
 63                 2030              72      $79,217       $92,584  86.0%        95.0%        87.8%           98.5%                 $65,415              $40,828.05
 64                 2031              73      $79,217       $96,287  86.0%        95.0%        88.2%           98.4%                 $68,255              $41,363.33
 65                 2032              74      $79,217     $100,138 86.0%          95.0%        88.2%           98.2%                 $70,887              $41,711.24
 66                 2033              75      $79,217     $104,144 86.0%          95.0%        88.2%           98.1%                 $73,604              $42,052.96
 67                 2034              76      $79,217     $108,310 86.0%          95.0%        88.2%           97.9%                 $76,409              $42,388.22
 68                 2035              77      $79,217     $112,642 86.0%          95.0%        88.2%           97.7%                 $79,302              $42,715.94
 69                 2036              78      $79,217     $117,148 86.0%          95.0%        88.2%           97.5%                 $82,288              $43,037.39
 70
 71                Totals                    $871,388    $1,067,398                                                                 $755,436               $454,769




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                      A                B        AI              AJ          AK          AL            AM              AN                    AO                     AP
  1
  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                       TABLE M-5 of M-5
  8                                       SOCIAL SECURITY LOSSES
  9
 10                                                                                                                                   Current Value of       Present Value of
 11                                       Social Security Social Security After        After         After                            Social Security         Social Security
 12                                          Income          Income       Federal State and Local  Personal   Probability of being     Income After            Income After
 13                 Year              Age     (Base)        (Current)      Taxes       Taxes      Consumption       Alive          Personal Consumption   Personal Consumption
 14
 15                 1983              25
 16                 1984              26
 17                 1985              27
 18                 1986              28
 19                 1987              29
 20                 1988              30
 21                 1989              31
 22                 1990              32
 23                 1991              33
 24                 1992              34
 25                 1993              35
 26                 1994              36
 27                 1995              37
 28                 1996              38
 29                 1997              39
 30                 1998              40
 31                 1999              41
 32                 2000              42
 33                 2001              43
 34                 2002              44
 35                 2003              45
 36                 2004              46
 37                 2005              47
 38                 2006              48
 39                 2007              49
 40                 2008              50
 41                 2009              51
 42                 2010              52
 43                 2011              53
 44                 2012              54
 45                 2013              55
 46                 2014              56
 47                 2015              57
 48                 2016              58




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                      A                B        AI              AJ          AK           AL           AM              AN                    AO                     AP
  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                       TABLE M-5 of M-5
  8                                       SOCIAL SECURITY LOSSES
  9
 10                                                                                                                                   Current Value of       Present Value of
 11                                       Social Security Social Security After         After        After                            Social Security         Social Security
 12                                          Income          Income       Federal State and Local  Personal   Probability of being     Income After            Income After
 13                 Year              Age     (Base)        (Current)      Taxes       Taxes      Consumption        Alive         Personal Consumption   Personal Consumption
 14
 49
 50                 2017              59
 51                 2018              60
 52                 2019              61
 53                 2020              62
 54                 2021              63
 55                 2022              64
 56                 2023              65
 57                 2024              66
 58                 2025              67
 59                 2026              68     $31,260         $31,260      89.7%        95.0%        86.8%           99.0%                 $22,875              $16,062.76
 60                 2027              69     $31,260         $32,479      86.0%        95.0%        87.3%           98.9%                 $22,903              $15,615.67
 61                 2028              70     $31,260         $33,778      86.0%        95.0%        87.3%           98.7%                 $23,791              $15,749.78
 62                 2029              71     $31,260         $35,129      86.0%        95.0%        87.8%           98.6%                 $24,852              $15,974.99
 63                 2030              72     $31,260         $36,535      86.0%        95.0%        87.8%           98.5%                 $25,814              $16,111.23
 64                 2031              73     $31,260         $37,996      86.0%        95.0%        88.2%           98.4%                 $26,934              $16,322.46
 65                 2032              74     $31,260         $39,516      86.0%        95.0%        88.2%           98.2%                 $27,973              $16,459.75
 66                 2033              75     $31,260         $41,096      86.0%        95.0%        88.2%           98.1%                 $29,045              $16,594.60
 67                 2034              76     $31,260         $42,740      86.0%        95.0%        88.2%           97.9%                 $30,152              $16,726.90
 68                 2035              77     $31,260         $44,450      86.0%        95.0%        88.2%           97.7%                 $31,294              $16,856.22
 69                 2036              78     $31,260         $46,228      86.0%        95.0%        88.2%           97.5%                 $32,472              $16,983.07
 70
 71                Totals                   $343,860        $421,208                                                                     $298,104               $179,457




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                      A                B          AR                    AS                AT         AU          AV                 AW         AX             AY                    AZ                  BA                     BB
  1
  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                       TABLE M-6 of M-6
  8                                       HOUSEHOLD SERVICES LOSSES
  9                                                                                                                                                          Cost of
 10                                                                                      Less                  Cost of            Cost of             Household Services
 11                                                                  Cost of              Self             Providing Care     Providing Care        (household production +
 12                                             Cost of        Household Production   Consumption             for Other          for Other          providing care for others) Probability of Being Current Value of   Present Value of
 13                 Year              Age Household Production      (Current)            25%                   (Base)            (Current)              Column AS +AV                Alive         Household Services Household Services
 14                                             (Base)
 15                 1983              25
 16                 1984              26        $2,397                $2,397            $1,798                  $662               $662                      $2,460              100.00%               $2,460                $2,460
 17                 1985              27        $3,349                $3,349            $2,512                  $925               $925                      $3,437              100.00%               $3,437                $3,437
 18                 1986              28        $4,713                $4,713            $3,534                 $1,302             $1,302                     $4,836              100.00%               $4,836                $4,836
 19                 1987              29        $4,969                $4,969            $3,726                 $1,373             $1,373                     $5,099              100.00%               $5,099                $5,099
 20                 1988              30        $5,479                $5,479            $4,109                 $1,513             $1,513                     $5,623              100.00%               $5,623                $5,623
 21                 1989              31        $5,135                $5,135            $3,851                 $1,418             $1,418                     $5,269              100.00%               $5,269                $5,269
 22                 1990              32        $5,284                $5,284            $3,963                 $1,460             $1,460                     $5,422              100.00%               $5,422                $5,422
 23                 1991              33        $6,147                $6,147            $4,610                 $1,698             $1,698                     $6,308              100.00%               $6,308                $6,308
 24                 1992              34        $7,654                $7,654            $5,740                 $2,114             $2,114                     $7,855              100.00%               $7,855                $7,855
 25                 1993              35        $6,554                $6,554            $4,915                 $1,810             $1,810                     $6,726              100.00%               $6,726                $6,726
 26                 1994              36        $5,335                $5,335            $4,001                 $1,474             $1,474                     $5,475              100.00%               $5,475                $5,475
 27                 1995              37        $5,996                $5,996            $4,497                 $1,656             $1,656                     $6,153              100.00%               $6,153                $6,153
 28                 1996              38        $6,272                $6,272            $4,704                 $1,733             $1,733                     $6,437              100.00%               $6,437                $6,437
 29                 1997              39        $7,046                $7,046            $5,284                 $1,946             $1,946                     $7,231              100.00%               $7,231                $7,231
 30                 1998              40        $8,270                $8,270            $6,203                 $2,285             $2,285                     $8,488              100.00%               $8,488                $8,488
 31                 1999              41        $7,468                $7,468            $5,601                 $2,063             $2,063                     $7,664              100.00%               $7,664                $7,664
 32                 2000              42        $6,558                $6,558            $4,919                 $1,812             $1,812                     $6,730              100.00%               $6,730                $6,730
 33                 2001              43        $7,392                $7,392            $5,544                 $2,042             $2,042                     $7,586              100.00%               $7,586                $7,586
 34                 2002              44        $8,623                $8,623            $6,468                 $2,382             $2,382                     $8,850              100.00%               $8,850                $8,850
 35                 2003              45        $8,147                $8,147            $6,110                 $2,251             $2,251                     $8,361              100.00%               $8,361                $8,361
 36                 2004              46        $8,070                $8,070            $6,053                 $2,229             $2,229                     $8,282              100.00%               $8,282                $8,282
 37                 2005              47        $7,778                $7,778            $5,834                 $2,149             $2,149                     $7,983              100.00%               $7,983                $7,983
 38                 2006              48        $8,203                $8,203            $6,152                 $2,266             $2,266                     $8,419              100.00%               $8,419                $8,419
 39                 2007              49       $11,432               $11,432            $8,574                 $3,158             $3,158                    $11,732              100.00%              $11,732               $11,732
 40                 2008              50       $11,638               $11,638            $8,728                 $3,215             $3,215                    $11,943              100.00%              $11,943               $11,943
 41                 2009              51        $9,703                $9,703            $7,277                 $2,680             $2,680                     $9,958              100.00%               $9,958                $9,958
 42                 2010              52       $10,330               $10,330            $7,748                 $2,854             $2,854                    $10,601              100.00%              $10,601               $10,601
 43                 2011              53       $10,263               $10,263            $7,697                 $2,835             $2,835                    $10,532              100.00%              $10,532               $10,532
 44                 2012              54        $9,910                $9,910            $7,432                 $2,738             $2,738                    $10,170              100.00%              $10,170               $10,170
 45                 2013              55       $10,088               $10,088            $7,566                 $2,787             $2,787                    $10,353              100.00%              $10,353               $10,353
 46                 2014              56       $10,353               $10,353            $7,764                 $2,860             $2,860                    $10,624              100.00%              $10,624               $10,624
 47                 2015              57       $10,647               $10,647            $7,985                 $2,941             $2,941                    $10,926              100.00%              $10,926               $10,609
 48                 2016              58       $10,956               $10,956            $8,217                 $3,026             $3,026                    $11,243              100.00%              $11,243               $10,600
 49
 50                 2017              59       $11,322               $11,322             $8,491                $3,128             $3,128                    $11,619               99.48%              $11,558               $10,580
 51                 2018              60       $11,696               $11,696             $8,772                $3,231             $3,231                    $12,002               99.44%              $11,935               $10,608
 52                 2019              61       $12,023               $12,023             $9,017                $3,321             $3,321                    $12,339               99.40%              $12,264               $10,584
 53                 2020              62       $12,360               $12,360             $9,270                $3,414             $3,414                    $12,684               99.35%              $12,602               $10,560
 54                 2021              63       $12,706               $12,706             $9,529                $3,510             $3,510                    $13,039               99.30%              $12,948               $10,535
 55                 2022              64       $13,062               $13,062             $9,796                $3,608             $3,608                    $13,404               99.25%              $13,303               $10,510
 56                 2023              65       $13,427               $13,427            $10,070                $3,709             $3,709                    $13,780               99.19%              $13,668               $10,485
 57                 2024              66       $13,803               $13,803            $10,352                $3,813             $3,813                    $14,165               99.12%              $14,041               $10,458
 58                 2025              67       $14,190               $14,190            $10,642                $3,920             $3,920                    $14,562               99.05%              $14,423               $10,431
 59                 2026              68       $22,893               $22,893            $17,170                $3,036             $3,036                    $20,206               98.96%              $19,995               $14,040
 60                 2027              69       $23,534               $23,534            $17,651                $3,121             $3,121                    $20,771               98.85%              $20,533               $13,999




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                      A                B           AR                  AS                 AT         AU          AV                 AW         AX             AY                    AZ                  BA                     BB
  2 DAVID EDWARD WORLEY
  3 Economic Value of Earnings Losses
  4 Based on Military Career
  5
  6
  7                                       TABLE M-6 of M-6
  8                                       HOUSEHOLD SERVICES LOSSES
  9                                                                                                                                                          Cost of
 10                                                                                      Less                  Cost of            Cost of             Household Services
 11                                                                  Cost of              Self             Providing Care     Providing Care        (household production +
 12                                             Cost of        Household Production   Consumption             for Other          for Other          providing care for others) Probability of Being Current Value of   Present Value of
 13                 Year              Age Household Production      (Current)            25%                   (Base)            (Current)              Column AS +AV                Alive         Household Services Household Services
 14                                              (Base)
 61                 2028              70        $24,193              $24,193            $18,145                $3,208             $3,208                    $21,353               98.73%              $21,082               $13,957
 62                 2029              71        $24,871              $24,871            $18,653                $3,298             $3,298                    $21,951               98.61%              $21,645               $13,913
 63                 2030              72        $25,567              $25,567            $19,175                $3,390             $3,390                    $22,565               98.48%              $22,223               $13,870
 64                 2031              73        $26,283              $26,283            $19,712                $3,485             $3,485                    $23,197               98.36%              $22,816               $13,827
 65                 2032              74        $27,019              $27,019            $20,264                $3,583             $3,583                    $23,847               98.22%              $23,422               $13,782
 66                 2033              75        $27,775              $27,775            $20,832                $3,683             $3,683                    $24,514               98.06%              $24,039               $13,735
 67                 2034              76        $28,553              $28,553            $21,415                $3,786             $3,786                    $25,201               97.88%              $24,668               $13,684
 68                 2035              77        $29,353              $29,353            $22,014                $3,892             $3,892                    $25,907               97.68%              $25,306               $13,631
 69                 2036              78        $30,174              $30,174            $22,631                $4,001             $4,001                    $26,632               97.46%              $25,956               $13,575
 70
 71                Totals                      $656,961             $656,961           $492,721      $0       $139,793           $139,793                  $632,513                                  $627,201              $504,579




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 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                      TABLE H-2 of H-4
 8                                                      EARNINGS LOSSES
 9
10
11                                                                  Earnings in    After      After           After                                                        Social        Social         After       Total         Present
12                                                       Earnings   Current Year Federal State and Local Social Security Probability of being    Probability of being     Security       Security     Personal     Earnings      Value of    Cumulative
13                       Year                     Age    ($1983)      Dollars     Taxes       Taxes          Taxes            Employed                   Alive             Rate           Cap        Consumption    Loss       Earnings Loss   Loss
14
15                       1983                     25     $2,584       $2,584      99.7%        95.0%            93.3%             100.0%                100.0%             6.70%           $35,700     65.9%         $1,505         $1,505         $1,505
16                       1984                     26     $18,528      $19,115     94.4%        95.0%            93.3%             100.0%                100.0%             6.70%           $35,700     65.9%        $10,539        $10,539        $12,044
17                       1985                     27     $18,528      $19,720     94.4%        95.0%            93.0%             100.0%                100.0%             6.70%           $35,700     65.9%        $10,838        $10,838        $22,882
18                       1986                     28     $18,528      $20,345     94.4%        95.0%            93.0%             100.0%                100.0%             6.70%           $35,700     65.9%        $11,175        $11,175        $34,056
19                       1987                     29     $18,528      $20,989     94.4%        95.0%            92.9%             100.0%                100.0%             7.15%           $42,000     65.9%        $11,516        $11,516        $45,573
20                       1988                     30     $21,331      $24,581     93.8%        95.0%            92.9%             100.0%                100.0%             7.15%           $43,800     65.9%        $13,402        $13,402        $58,975
21                       1989                     31     $21,331      $25,288     93.4%        95.0%            92.5%             100.0%                100.0%             7.51%           $45,000     69.7%        $14,468        $14,468        $73,443
22                       1990                     32     $21,331      $26,015     93.4%        95.0%            92.5%             100.0%                100.0%             7.51%           $48,000     69.7%        $14,884        $14,884        $88,326
23                       1991                     33     $21,331      $26,764     93.4%        95.0%            92.4%             100.0%                100.0%             7.65%           $51,300     69.7%        $15,289        $15,289       $103,615
24                       1992                     34     $21,331      $27,534     93.4%        95.0%            92.4%             100.0%                100.0%             7.65%           $53,400     69.7%        $15,729        $15,729       $119,344
25                       1993                     35     $22,895      $30,509     92.8%        95.0%            92.4%             100.0%                100.0%             7.65%           $55,500     72.5%        $18,009        $18,009       $137,352
26                       1994                     36     $22,895      $31,496     92.8%        95.0%            92.4%             100.0%                100.0%             7.65%           $57,600     72.5%        $18,591        $18,591       $155,944
27                       1995                     37     $22,895      $32,515     92.8%        95.0%            92.4%             100.0%                100.0%             7.65%           $60,600     72.5%        $19,193        $19,193       $175,137
28                       1996                     38     $22,895      $33,568     92.8%        95.0%            92.4%             100.0%                100.0%             7.65%           $61,200     72.5%        $19,814        $19,814       $194,951
29                       1997                     39     $22,895      $34,654     92.8%        95.0%            92.4%             100.0%                100.0%             7.65%           $62,700     72.5%        $20,456        $20,456       $215,407
30                       1998                     40     $24,522      $38,475     92.8%        95.0%            92.4%             100.0%                100.0%             7.65%           $65,400     74.6%        $23,369        $23,369       $238,776
31                       1999                     41     $24,522      $39,648     92.8%        95.0%            92.4%             100.0%                100.0%             7.65%           $68,400     74.6%        $24,081        $24,081       $262,857
32                       2000                     42     $24,522      $40,857     92.0%        95.0%            92.4%             100.0%                100.0%             7.65%           $72,600     76.4%        $25,195        $25,195       $288,051
33                       2001                     43     $24,522      $42,102     92.0%        95.0%            92.4%             100.0%                100.0%             7.65%           $76,200     76.4%        $25,963        $25,963       $314,014
34                       2002                     44     $24,522      $43,386     92.0%        95.0%            92.4%             100.0%                100.0%             7.65%           $80,400     76.4%        $26,754        $26,754       $340,768
35                       2003                     45     $25,518      $47,791     92.0%        95.0%            92.4%             100.0%                100.0%             7.65%           $84,900     77.8%        $30,011        $30,011       $370,779
36                       2004                     46     $25,518      $49,315     92.0%        95.0%            92.4%             100.0%                100.0%             7.65%           $87,000     77.8%        $30,968        $30,968       $401,747
37                       2005                     47     $25,518      $50,886     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%           $87,900     79.0%        $32,089        $32,089       $433,836
38                       2006                     48     $25,518      $52,508     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%           $90,000     79.0%        $33,112        $33,112       $466,947
39                       2007                     49     $25,518      $54,181     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     79.0%        $34,167        $34,167       $501,114
40                       2008                     50     $24,922      $54,348     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     79.0%        $34,272        $34,272       $535,387
41                       2009                     51     $24,922      $56,070     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     80.0%        $35,805        $35,805       $571,192
42                       2010                     52     $24,922      $57,846     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     80.0%        $36,940        $36,940       $608,132
43                       2011                     53     $24,922      $59,679     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     80.0%        $38,110        $38,110       $646,242
44                       2012                     54     $24,922      $61,569     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     80.9%        $39,759        $39,759       $686,001
45                       2013                     55     $24,556      $66,089     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     81.7%        $43,100        $43,100       $729,101
46                       2014                     56     $24,556      $68,307     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     81.7%        $44,547        $44,547       $773,648
47                       2015                     57     $24,556      $70,598     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     82.4%        $46,436        $45,088       $818,735
48                       2016                     58     $24,556      $72,967     91.0%        95.0%            92.4%             100.0%                100.0%             7.65%          $102,000     82.4%        $47,994        $45,247       $863,983
49                                                                                                                                                              Total to Worklife Expectancy                       $868,077       $863,983
50                       2017                     59     $24,556      $75,415     89.7%        95.0%            92.4%              93.2%                 99.5%             7.65%          $102,000     83.0%        $45,645        $41,784       $905,767
51                       2018                     60     $24,062      $63,406     91.0%        95.0%            92.4%              93.2%                 99.4%             7.65%          $102,000     80.9%        $37,936        $33,719       $939,485
52                       2019                     61     $24,062      $65,186     91.0%        95.0%            92.4%              93.2%                 99.4%             7.65%          $102,000     81.7%        $39,370        $33,977       $973,462
53                       2020                     62     $24,062      $67,016     91.0%        95.0%            92.4%              93.2%                 99.3%             7.65%          $102,000     81.7%        $40,456        $33,901      $1,007,364
54                       2021                     63     $24,062      $68,897     91.0%        95.0%            92.4%              93.2%                 99.3%             7.65%          $102,000     81.7%        $41,571        $33,824      $1,041,188
55                       2022                     64     $24,062      $70,831     91.0%        95.0%            92.4%              93.2%                 99.2%             7.65%          $102,000     82.4%        $43,082        $34,035      $1,075,223
56                       2023                     65     $20,467      $77,670     89.7%        95.0%            92.4%              93.2%                 99.2%             7.65%          $102,000     83.0%        $46,874        $35,956      $1,111,180
57                       2024                     66     $20,467      $80,303     89.7%        95.0%            92.4%              93.2%                 99.1%             7.65%          $102,000     83.6%        $48,781        $36,333      $1,147,513
58                       2025                     67     $20,467      $83,026     89.7%        95.0%            92.4%              93.2%                 99.0%             7.65%          $102,000     83.6%        $50,396        $36,446      $1,183,958
59                       2026                     68                                                                                                      Total to Social Security Retirement Age
60                       2027                     69
61                       2028                     70
62                       2029                     71
63                       2030                     72
64                       2031                     73
65                       2032                     74
66                       2033                     75
67                       2034                     76
68                       2035                     77


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 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                      TABLE H-2 of H-4
 8                                                      EARNINGS LOSSES
 9
10
11                                                                  Earnings in    After      After           After                                                      Social    Social        After        Total         Present
12                                                       Earnings   Current Year Federal State and Local Social Security Probability of being    Probability of being   Security   Security    Personal      Earnings      Value of    Cumulative
13                       Year                     Age    ($1983)      Dollars     Taxes       Taxes          Taxes            Employed                   Alive           Rate       Cap       Consumption     Loss       Earnings Loss   Loss
14
15                       1983                     25     $2,584       $2,584      99.7%        95.0%            93.3%             100.0%                100.0%          6.70%      $35,700      65.9%        $1,505          $1,505         $1,505
69                       2036                     78
70
71                      Totals                           $977,127   $2,054,051                                                                                                                              $1,262,187     $1,183,958




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 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                     TABLE H-3 of H-4
 8                                                     RETIREMENT INCOME LOSSES
 9
10                                                                                                                                     Current Value of       Present Value of
11                                                    Retirement Retirement After        After         After                          Retirement Income      Retirement Income
12                                                     Income      Income   Federal State and Local  Personal   Probability of being     Losses After           Losses After
13                        Year                    Age   (Base)    (Current)  Taxes       Taxes      Consumption       Alive          Personal Consumption   Personal Consumption
14
15                        1983                    25
16                        1984                    26
17                        1985                    27
18                        1986                    28
19                        1987                    29
20                        1988                    30
21                        1989                    31
22                        1990                    32
23                        1991                    33
24                        1992                    34
25                        1993                    35
26                        1994                    36
27                        1995                    37
28                        1996                    38
29                        1997                    39
30                        1998                    40
31                        1999                    41
32                        2000                    42
33                        2001                    43
34                        2002                    44
35                        2003                    45
36                        2004                    46
37                        2005                    47
38                        2006                    48
39                        2007                    49
40                        2008                    50
41                        2009                    51
42                        2010                    52
43                        2011                    53
44                        2012                    54
45                        2013                    55
46                        2014                    56
47                        2015                    57
48                        2016                    58
49
50                        2017                    59
51                        2018                    60

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 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                     TABLE H-3 of H-4
 8                                                     RETIREMENT INCOME LOSSES
 9
10                                                                                                                                     Current Value of       Present Value of
11                                                    Retirement Retirement After        After         After                          Retirement Income      Retirement Income
12                                                     Income      Income   Federal State and Local  Personal   Probability of being     Losses After           Losses After
13                        Year                    Age   (Base)    (Current)  Taxes       Taxes      Consumption       Alive          Personal Consumption   Personal Consumption
14
15                        1983                    25
52                        2019                    61
53                        2020                    62
54                        2021                    63
55                        2022                    64
56                        2023                    65
57                        2024                    66
58                        2025                    67
59                        2026                    68    $37,114    $37,114    92.8%        95.0%           80.9%               99.0%       $26,195                 $18,394
60                        2027                    69    $37,114    $38,561    92.8%        95.0%           80.9%               98.9%       $27,187                 $18,536
61                        2028                    70    $37,114    $40,104    92.0%        95.0%           81.7%               98.7%       $28,273                 $18,717
62                        2029                    71    $37,114    $41,708    92.0%        95.0%           81.7%               98.6%       $29,367                 $18,877
63                        2030                    72    $37,114    $43,376    92.0%        95.0%           82.4%               98.5%       $30,764                 $19,201
64                        2031                    73    $37,114    $45,111    92.0%        95.0%           83.0%               98.4%       $32,187                 $19,506
65                        2032                    74    $37,114    $46,916    92.0%        95.0%           83.0%               98.2%       $33,428                 $19,670
66                        2033                    75    $37,114    $48,792    92.0%        95.0%           83.6%               98.1%       $34,960                 $19,974
67                        2034                    76    $37,114    $50,744    91.0%        95.0%           84.1%               97.9%       $36,106                 $20,030
68                        2035                    77    $37,114    $52,774    91.0%        95.0%           84.1%               97.7%       $37,474                 $20,185
69                        2036                    78    $37,114    $54,885    91.0%        95.0%           84.6%               97.5%       $39,116                 $20,458
70
71                       Totals                        $408,253   $500,085                                                                $355,056                $213,548




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 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                     TABLE H-4 of H-4
 8                                                     SOCIAL SECURITY LOSSES
 9
10                                                                                                                                                Current Value of       Present Value of
11                                                    Social Security Social Security After        After         After                            Social Security         Social Security
12                                                       Income          Income       Federal State and Local  Personal   Probability of being     Income After            Income After
13                        Year                    Age     (Base)        (Current)      Taxes       Taxes      Consumption       Alive          Personal Consumption   Personal Consumption
14
15                        1983                    25
16                        1984                    26
17                        1985                    27
18                        1986                    28
19                        1987                    29
20                        1988                    30
21                        1989                    31
22                        1990                    32
23                        1991                    33
24                        1992                    34
25                        1993                    35
26                        1994                    36
27                        1995                    37
28                        1996                    38
29                        1997                    39
30                        1998                    40
31                        1999                    41
32                        2000                    42
33                        2001                    43
34                        2002                    44
35                        2003                    45
36                        2004                    46
37                        2005                    47
38                        2006                    48
39                        2007                    49
40                        2008                    50
41                        2009                    51
42                        2010                    52
43                        2011                    53
44                        2012                    54
45                        2013                    55
46                        2014                    56
47                        2015                    57
48                        2016                    58
49
50                        2017                    59
51                        2018                    60

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 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                     TABLE H-4 of H-4
 8                                                     SOCIAL SECURITY LOSSES
 9
10                                                                                                                                                Current Value of       Present Value of
11                                                    Social Security Social Security After        After         After                            Social Security         Social Security
12                                                       Income          Income       Federal State and Local  Personal   Probability of being     Income After            Income After
13                        Year                    Age     (Base)        (Current)      Taxes       Taxes      Consumption       Alive          Personal Consumption   Personal Consumption
14
15                        1983                    25
52                        2019                    61
53                        2020                    62
54                        2021                    63
55                        2022                    64
56                        2023                    65
57                        2024                    66
58                        2025                    67
59                        2026                    68     $25,104        $25,104       92.8%        95.0%           80.9%        99.0%               $17,718                   $12,442
60                        2027                    69     $25,104        $26,083       92.8%        95.0%           80.9%        98.9%               $18,389                   $12,538
61                        2028                    70     $25,104        $27,126       92.0%        95.0%           81.7%        98.7%               $19,124                   $12,661
62                        2029                    71     $25,104        $28,211       92.0%        95.0%           81.7%        98.6%               $19,864                   $12,768
63                        2030                    72     $25,104        $29,340       92.0%        95.0%           82.4%        98.5%               $20,809                   $12,988
64                        2031                    73     $25,104        $30,513       92.0%        95.0%           83.0%        98.4%               $21,771                   $13,194
65                        2032                    74     $25,104        $31,734       92.0%        95.0%           83.0%        98.2%               $22,611                   $13,305
66                        2033                    75     $25,104        $33,003       92.0%        95.0%           83.6%        98.1%               $23,647                   $13,511
67                        2034                    76     $25,104        $34,324       91.0%        95.0%           84.1%        97.9%               $24,423                   $13,548
68                        2035                    77     $25,104        $35,696       91.0%        95.0%           84.1%        97.7%               $25,347                   $13,653
69                        2036                    78     $25,104        $37,124       91.0%        95.0%           84.6%        97.5%               $26,458                   $13,838
70
71                       Totals                          $276,144       $338,260                                                                    $240,162                 $144,445




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 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                     TABLE H-5 of H-5
 8                                                     HOUSEHOLD SERVICES LOSSES
 9
10                                                                                                 Less               Cost of           Cost of                Cost of
11                                                          Cost of              Cost of            Self          Providing Care    Providing Care      Household Services
12                                                    Household Production Household Production Consumption          for Other         for Other      (household production +      Probability of Being Current Value of   Present Value of
13                       Year                     Age       (Base)              (Current)          25%                (Base)           (Current)      providing care for others)         Alive         Household Services Household Services
14
15                       1983                     25
16                       1984                     26         $2,397               $2,397             $1,798            $662              $662                  $2,460                   100.0%             $2,460                $2,460
17                       1985                     27         $3,349               $3,349             $2,512            $925              $925                  $3,437                   100.0%             $3,437                $3,437
18                       1986                     28         $4,713               $4,713             $3,534           $1,302            $1,302                 $4,836                   100.0%             $4,836                $4,836
19                       1987                     29         $4,969               $4,969             $3,726           $1,373            $1,373                 $5,099                   100.0%             $5,099                $5,099
20                       1988                     30         $5,479               $5,479             $4,109           $1,513            $1,513                 $5,623                   100.0%             $5,623                $5,623
21                       1989                     31         $5,135               $5,135             $3,851           $1,418            $1,418                 $5,269                   100.0%             $5,269                $5,269
22                       1990                     32         $5,284               $5,284             $3,963           $1,460            $1,460                 $5,422                   100.0%             $5,422                $5,422
23                       1991                     33         $6,147               $6,147             $4,610           $1,698            $1,698                 $6,308                   100.0%             $6,308                $6,308
24                       1992                     34         $7,654               $7,654             $5,740           $2,114            $2,114                 $7,855                   100.0%             $7,855                $7,855
25                       1993                     35         $6,554               $6,554             $4,915           $1,810            $1,810                 $6,726                   100.0%             $6,726                $6,726
26                       1994                     36         $5,335               $5,335             $4,001           $1,474            $1,474                 $5,475                   100.0%             $5,475                $5,475
27                       1995                     37         $5,996               $5,996             $4,497           $1,656            $1,656                 $6,153                   100.0%             $6,153                $6,153
28                       1996                     38         $6,272               $6,272             $4,704           $1,733            $1,733                 $6,437                   100.0%             $6,437                $6,437
29                       1997                     39         $7,046               $7,046             $5,284           $1,946            $1,946                 $7,231                   100.0%             $7,231                $7,231
30                       1998                     40         $8,270               $8,270             $6,203           $2,285            $2,285                 $8,488                   100.0%             $8,488                $8,488
31                       1999                     41         $7,468               $7,468             $5,601           $2,063            $2,063                 $7,664                   100.0%             $7,664                $7,664
32                       2000                     42         $6,558               $6,558             $4,919           $1,812            $1,812                 $6,730                   100.0%             $6,730                $6,730
33                       2001                     43         $7,392               $7,392             $5,544           $2,042            $2,042                 $7,586                   100.0%             $7,586                $7,586
34                       2002                     44         $8,623               $8,623             $6,468           $2,382            $2,382                 $8,850                   100.0%             $8,850                $8,850
35                       2003                     45         $8,147               $8,147             $6,110           $2,251            $2,251                 $8,361                   100.0%             $8,361                $8,361
36                       2004                     46         $8,070               $8,070             $6,053           $2,229            $2,229                 $8,282                   100.0%             $8,282                $8,282
37                       2005                     47         $7,778               $7,778             $5,834           $2,149            $2,149                 $7,983                   100.0%             $7,983                $7,983
38                       2006                     48         $8,203               $8,203             $6,152           $2,266            $2,266                 $8,419                   100.0%             $8,419                $8,419
39                       2007                     49        $11,432              $11,432             $8,574           $3,158            $3,158                $11,732                   100.0%            $11,732               $11,732
40                       2008                     50        $11,638              $11,638             $8,728           $3,215            $3,215                $11,943                   100.0%            $11,943               $11,943
41                       2009                     51         $9,703               $9,703             $7,277           $2,680            $2,680                 $9,958                   100.0%             $9,958                $9,958
42                       2010                     52        $10,330              $10,330             $7,748           $2,854            $2,854                $10,601                   100.0%            $10,601               $10,601
43                       2011                     53        $10,263              $10,263             $7,697           $2,835            $2,835                $10,532                   100.0%            $10,532               $10,532
44                       2012                     54         $9,910               $9,910             $7,432           $2,738            $2,738                $10,170                   100.0%            $10,170               $10,170
45                       2013                     55        $10,088              $10,088             $7,566           $2,787            $2,787                $10,353                   100.0%            $10,353               $10,353
46                       2014                     56        $10,353              $10,353             $7,764           $2,860            $2,860                $10,624                   100.0%            $10,624               $10,624
47                       2015                     57        $10,647              $10,647             $7,985           $2,941            $2,941                $10,926                   100.0%            $10,926               $10,609
48                       2016                     58        $10,956              $10,956             $8,217           $3,026            $3,026                $11,243                   100.0%            $11,243               $10,600
49
50                       2017                     59        $11,322              $11,322             $8,491           $3,128            $3,128                $11,619                    99.5%            $11,558               $10,580
51                       2018                     60        $11,696              $11,696             $8,772           $3,231            $3,231                $12,002                    99.4%            $11,935               $10,608
52                       2019                     61        $12,023              $12,023             $9,017           $3,321            $3,321                $12,339                    99.4%            $12,264               $10,584
53                       2020                     62        $12,360              $12,360             $9,270           $3,414            $3,414                $12,684                    99.3%            $12,602               $10,560
54                       2021                     63        $12,706              $12,706             $9,529           $3,510            $3,510                $13,039                    99.3%            $12,948               $10,535
55                       2022                     64        $13,062              $13,062             $9,796           $3,608            $3,608                $13,404                    99.2%            $13,303               $10,510
56                       2023                     65        $13,427              $13,427            $10,070           $3,709            $3,709                $13,780                    99.2%            $13,668               $10,485
57                       2024                     66        $13,803              $13,803            $10,352           $3,813            $3,813                $14,165                    99.1%            $14,041               $10,458
58                       2025                     67        $14,190              $14,190            $10,642           $3,920            $3,920                $14,562                    99.0%            $14,423               $10,431
59                       2026                     68        $22,893              $22,893            $17,170           $3,036            $3,036                $20,206                    99.0%            $19,995               $14,040
60                       2027                     69        $23,534              $23,534            $17,651           $3,121            $3,121                $20,771                    98.9%            $20,533               $13,999
61                       2028                     70        $24,193              $24,193            $18,145           $3,208            $3,208                $21,353                    98.7%            $21,082               $13,957
62                       2029                     71        $24,871              $24,871            $18,653           $3,298            $3,298                $21,951                    98.6%            $21,645               $13,913
63                       2030                     72        $25,567              $25,567            $19,175           $3,390            $3,390                $22,565                    98.5%            $22,223               $13,870
64                       2031                     73        $26,283              $26,283            $19,712           $3,485            $3,485                $23,197                    98.4%            $22,816               $13,827


      David Edward Worley Sept-2014-v1.xls                                                 Prepared by Jerome S. Paige, Ph.D. and Moses Sawney, MBA                                                       Jerome S. Paige and Associates, LLC


                                                                                                                                                                                                                          Exhibit C
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                                                                                                                                                                                                           Page 19 of 19
                           A                       B           AI                  AJ                  AK               AL                AM                     AN                       AO                 AP                    AQ
 1
 2   DAVID EDWARD WORLEY
 3   Economic Value of Earnings Losses
 4   Based on Educational Attainment Statistics
 5   High School
 6
 7                                                     TABLE H-5 of H-5
 8                                                     HOUSEHOLD SERVICES LOSSES
 9
10                                                                                                 Less               Cost of           Cost of                Cost of
11                                                          Cost of              Cost of            Self          Providing Care    Providing Care      Household Services
12                                                    Household Production Household Production Consumption          for Other         for Other      (household production +      Probability of Being Current Value of   Present Value of
13                       Year                     Age       (Base)              (Current)          25%                (Base)           (Current)      providing care for others)         Alive         Household Services Household Services
14
15                       1983                     25
65                       2032                     74        $27,019              $27,019            $20,264           $3,583            $3,583                $23,847                    98.2%            $23,422               $13,782
66                       2033                     75        $27,775              $27,775            $20,832           $3,683            $3,683                $24,514                    98.1%            $24,039               $13,735
67                       2034                     76        $28,553              $28,553            $21,415           $3,786            $3,786                $25,201                    97.9%            $24,668               $13,684
68                       2035                     77        $29,353              $29,353            $22,014           $3,892            $3,892                $25,907                    97.7%            $25,306               $13,631
69                       2036                     78        $30,174              $30,174            $22,631           $4,001            $4,001                $26,632                    97.5%            $25,956               $13,575
70
71                      Totals                              $656,961            $656,961            $492,721         $139,793          $139,793               $632,513                                    $627,201              $504,579




      David Edward Worley Sept-2014-v1.xls                                                 Prepared by Jerome S. Paige, Ph.D. and Moses Sawney, MBA                                                       Jerome S. Paige and Associates, LLC


                                                                                                                                                                                                                          Exhibit C
